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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 25-60391-CIV-SMITH

  ASIA ELKHALIL,

                  Plaintiff,

  v.

  EAST BEACH, LLC, d/b/a
  PIER 14 TAPAS AND COCKTAILS,

              Defendant.
  _________________________________/

                               PROPOSED SCHEDULING ORDER

          THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

  March 30, 2026. If the case cannot be tried during the two-week period, it will be re-set for each

  successive trial calendar until it is tried or resolved. The Calendar Call will be held at 9:00 a.m.

  on Tuesday, March 24, 2026. The parties shall adhere to the following schedule:

       1. Joinder of any additional parties and filing of motion to amend the         6/2/25
          pleadings by

       2. Parties shall select a mediator pursuant to Local Rule 16.2 and shall       6/16/25
          schedule a time, date, and place for mediation by

       3. Plaintiffs shall disclose experts, expert witness summaries, and            8/18/25
          reports as required by Fed. R. Civ. P. 26(a)(2) by

       4. Defendant(s) shall disclose experts, expert witness summaries, and          9/18/25
          reports as required by Fed. R. Civ. P. 26(a)(2) by

       5. Exchange of rebuttal expert witness summaries and reports as                10/2/25
          required by Fed. R. Civ. P. 26(a)(2) by

       6. Written lists containing the names and addresses of all fact                10/7/25
          witnesses intended to be called at trial by

       7. Fact discovery shall be completed by                                        11/3/25
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     8. Expert discovery shall be completed by                                       11/3/25

     9. Mediation shall be completed by                                              11/17/25

     10. Dispositive motions, including summary judgment and Daubert,                12/1/25
         shall be filed by

     11. Deposition designations and counter-designations shall be filed by          2/2/26

     12. All pretrial motions and memoranda of law, including motions in             2/27/26
         limine, shall be filed by

     13. Joint pretrial stipulation, proposed joint jury instructions, proposed      3/6/26
         joint verdict form, and/or proposed findings of fact and conclusions
         of law shall be filed by

  By:

   /s/ Daniel J. Barroukh                              /s/ Cody J. Shilling
   Daniel J. Barroukh, Esq.                            Cody J. Shilling, Esq.
   Florida Bar No. 1049271                             Florida Bar No. 1010112
   danielb@dereksmithlaw.com                           cs@blacklawpa.com

   Derek Smith Law Group, PLLC                         BLACK LAW P.A.,
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   Miami, FL 33131                                     Fort Lauderdale, Florida, 33301
   Telephone: 786-688-2335                             Telephone: 954-281-8766
   Counsel for Plaintiff                               Counsel for Defendant




        DONE AND ORDERED in Chambers at Miami, Florida, this ____ day of March, 2025.


                                                         ____________________________________
                                                         The Honorable Rodney Smith
                                                         United States District Judge




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